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    Will do ~ Zri PM



          Hey Lisa. I gotta ask you a question. https·Lf
          www.cantechletter.com/2018/04/reliq-health
          -ls-now-an-acguisition-target-stonecastle
          -ill:!&stmeot-~~~
            Canteen Letter
            Reliq Health is now an acquisition target.
            StoneCastle Investment says
            The good times are no1 over for Reliq
            Health Technologies (TSXV:RHT), says Bruce
            Campbetl of StoneCastfe Investment Management,
            who says a buyout is around the corner. Mobile
          1 health care tech com pa"'
                                                     9.U8 AM ..//

          Stephen:
          ••she said that they expected to have 30,000
          patients online by the end of this year at
          US$50.00 a month and she's actually said that
          there's a potential that it could go higher than
          that."                                     n 09      M v./

            What's the play here? I don't understand this,
            we only have 250 people on the platform.
                                                     f)   . /', rvi   ..,//

    What??? Giancarlo says we have 12,000. We've
    booked revenue for 6,000 patients in Q4. He
    said we·d hit over 50,000 by the end of this
    year so I e been lowballing the market at
             1
    30,000. 111 call him now.                    1 o. r 1




I


                 ~             (j)               •

                                         EXHIBIT C
